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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    ATARI INTERACTIVE, INC.,                          Case No. 18-cv-03451-JST
                                                      Plaintiff,
                                   8
                                                                                          ORDER RE VERDICT FORM
                                                v.
                                   9

                                  10    REDBUBBLE, INC.,
                                                      Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         Attached is the verdict form the Court intends to give in this matter.

                                  14         IT IS SO ORDERED.

                                  15   Dated: November 2, 2021
                                                                                      ______________________________________
                                  16
                                                                                                    JON S. TIGAR
                                  17                                                          United States District Judge

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                                   4                                        UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        ATARI INTERACTIVE, INC.,                          Case No. 18-cv-03451-JST
                                                            Plaintiff,                        VERDICT FORM
                                   8
                                                     v.
                                   9

                                  10        REDBUBBLE, INC.,
                                                               Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           We, the jury, duly empaneled and sworn in the above-entitled action, answer the questions
                                  14   posed to us as follows:
                                  15                                        TRADEMARK COUNTERFEITING
                                  16   1.      Did Defendant Redbubble counterfeit the ATARI mark:
                                  17           (a)        Directly?              Yes ______          No ______
                                  18                      or
                                  19           (b)        Vicariously?           Yes ______          No ______
                                  20           If you answered “yes” to either Question 1(a) or Question 1(b), please answer Question 2.
                                  21   If you answered “no” to both Question 1(a) and Question 1(b), please skip Questions 2 and 3 and
                                  22   answer Question 4.
                                  23

                                  24   2.      How many types of counterfeit goods using the ATARI mark did Redbubble sell, offer for
                                  25           sale, or distribute?
                                  26           Answer: __________
                                  27           Please answer Question 3.
                                  28
                                                                                          1
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                                   1   3.      What is the total amount of statutory damages you award to Plaintiff Atari for Defendant

                                   2           Redbubble’s counterfeiting of the ATARI mark?

                                   3           Number of types __________ x Damages per type $_______________ =

                                   4           Total damages $_______________

                                   5           Please answer Question 4.

                                   6

                                   7   4.      Did Defendant Redbubble counterfeit the PONG mark:

                                   8           (a)    Directly?             Yes ______             No ______

                                   9                  or

                                  10           (b)    Vicariously?          Yes ______             No ______

                                  11           If you answered “yes” to either Question 4(a) or Question 4(b), answer Question 5. If you

                                  12   answered “no” to both Question 4(a) and Question 4(b), skip Questions 5 and 6 and answer
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 United States District Court




                                  13   Question 7.

                                  14

                                  15   5.      How many types of counterfeit goods using the PONG did Redbubble sell, offer for sale,

                                  16           or distribute?

                                  17           Answer: __________

                                  18           Please answer Question 6.

                                  19

                                  20   6.      What is the total amount of statutory damages you award to Plaintiff Atari for Defendant

                                  21           Redbubble’s counterfeiting of the PONG mark?

                                  22           Number of types __________ x Damages per type $_______________ =

                                  23           Total damages $_______________

                                  24           Please answer Question 7.

                                  25   ///

                                  26   ///

                                  27   ///

                                  28   ///
                                                                                        2
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                                   1                                    TRADEMARK INFRINGEMENT

                                   2   7.       Did Defendant Redbubble infringe either of the following Atari trademarks?

                                   3            (a)    ATARI                 Yes ______             No ______

                                   4            (b)    PONG                  Yes ______             No ______

                                   5            Please answer Question 8.

                                   6

                                   7                                     COPYRIGHT INFRINGEMENT

                                   8   8.       Did Defendant Redbubble infringe any copyright owned by Plaintiff Atari?

                                   9            Yes ______            No ______

                                  10            If you answered “yes” to Question 8, please answer Question 9. If you answered “no” to

                                  11   Question 8, please stop here, answer no further questions, and have the presiding juror sign and date

                                  12   this form.
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                                  13

                                  14   9.       Were the game graphics or artwork associated with any of the following games infringed:

                                  15            Adventure             Yes ______     No ______

                                  16            Asteroids             Yes ______     No ______

                                  17            Breakout              Yes ______     No ______

                                  18            Centipede             Yes ______     No ______

                                  19            Missile Command       Yes ______     No ______

                                  20            Pong                  Yes ______     No ______

                                  21            Yar’s Revenge         Yes ______     No ______

                                  22            Please answer Question 10.

                                  23

                                  24   10.      Is Atari’s Greatest Hits Volume 1, which contains the games identified in Question 9, a

                                  25            compilation?

                                  26            Yes ______      No ______

                                  27            If you answered “yes” to Question 10, please answer Question 11. If you answered “no” to

                                  28   Question 10, please skip Question 11 and answer Question 12.
                                                                                         3
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                                   2   11.      What is the total amount of statutory damages you award to Plaintiff Atari for Defendant

                                   3            Redbubble’s infringement of the game graphics or artwork associated with Atari’s Greatest

                                   4            Hits Volume I?                        $_______________

                                   5            Please stop here, answer no further questions, and have the presiding juror sign and date this

                                   6   form.

                                   7

                                   8   12.      What is the total amount of statutory damages you award to Plaintiff Atari for Defendant

                                   9            Redbubble’s infringement of the game graphics or artwork associated with the following

                                  10            games? You should award damages only for those games as to which you answered “yes”

                                  11            to Question 9.

                                  12            Adventure              $_______________
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                                  13            Asteroids              $_______________

                                  14            Breakout               $_______________

                                  15            Centipede              $_______________

                                  16            Missile Command        $_______________

                                  17            Pong                   $_______________

                                  18            Yar’s Revenge          $_______________

                                  19            Please have the presiding juror sign and date this form.

                                  20

                                  21   Dated: ______________                  Signed: ____________________________
                                                                                              Presiding Juror
                                  22

                                  23

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